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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

SANDRA EMERSON,

              Plaintiff,

       v.                                     CASE NO. 8:22-cv-00369

MIDLAND CREDIT
MANAGEMENT, INC.,

          Defendant.
________________________________/

                            NOTICE OF REMOVAL

      PLEASE TAKE NOTICE THAT on this date, Defendant Midland Credit

Management, Inc. hereby removes the above-captioned matter to the United States

District Court for the Middle District of Florida, Tampa Division, from the County

Court of the Sixth Judicial Circuit in and for Pinellas County, Florida and in support

thereof avers as follows:

      1.     MCM is a defendant in a civil action originally filed on or about

December 31, 2021, in the County Court of the Sixth Judicial District, in and for

Pinellas County, Florida, titled Sandra Emerson v. Midland Credit Management,

Inc. and docketed to Case No. 22000014SC.

      2.     This removal is timely under 28 U.S.C. § 1446(b) as MCM received

service of process on January 13, 2022.


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      3.     Pursuant to 28 U.S.C § 1446, attached hereto are copies of all process,

pleadings, and orders received by MCM in the state court action.

      4.     The United States District Court for Middle District of Florida, Tampa

Division, has original jurisdiction over this action pursuant to 28 U.S.C. § 1331, in

that Plaintiff has filed claims against MCM alleging violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. Plaintiff alleges MCM’s conduct

caused her actual harm, entitling her to a recovery of actual damages.

      5.     On this date, MCM provided notice of this Removal to counsel for

Plaintiff and to the County Court of the Sixth Judicial Circuit in and for Pinellas

County, Florida.

      WHEREFORE, Defendant Midland Credit Management, Inc. respectfully

removes this case to the United States District Court for the Middle District of

Florida, Tampa Division.

                                 MESSER STRICKLER BURNETTE, LTD.


                           By:   /s/ Lauren M. Burnette
                                 LAUREN M. BURNETTE, ESQUIRE
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                            Counsel for Defendant

Dated: February 14, 2022




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                        CERTIFICATE OF SERVICE

      I certify that on February 14, 2022, a true copy of the foregoing document

was served on all counsel of record by electronic means.



                                 MESSER STRICKLER BURNETTE, LTD.


                           By:   /s/ Lauren M. Burnette
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                                 Counsel for Defendant

Dated: February 14, 2022




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